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                               Statement of Jurisdiction

      The United States District Court for the Eastern District of Pennsylvania had

subject matter jurisdiction under 18 U.S.C. § 3231 (district court jurisdiction over

“all offenses against the laws of the United States”). In an appeal from the final

judgment in a criminal case, courts of appeals have jurisdiction under 28 U.S.C.

§ 1291 (jurisdiction over “[f]inal decisions of district courts”).

      Notice of appeal was filed October 12, 2022. Joint Appendix, page 1,

Volume I, hereinafter “Appx0001”. This appeal is from the final judgment entered

by the U.S. District Court for the Eastern District of Pennsylvania, Surrick, J., on

September 29, 2022. Appx0002-0008.




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                  Statement of the Issues and Standards of Review

1. Did the district court err in denying defendant’s motion to dismiss
   pursuant to federal Rule of Criminal Procedure 12 (b)(3) counts One and
   Two of the Indictment charging sex trafficking of a minor for failure to
   state an offense? That is because the facts presented by the government
   in the defendant’s case, as applied, make out a wholly domestic offense
   that congress never intended to address when it enacted 18 U.S.C. §
   1591 and is unconstitutional as applied to the defendant.

2. Did the district court err in denying defendant’s motion to withdraw his
   guilty plea because the government breached the plea agreement by
   including unconstitutional terms in the agreement?

                     Procedural history of Issue One and Two:

        Defendant’s Motion to dismiss counts one and two was filed on November

19, 2020. SAppx0055-0068. The Government filed its response to defendants’

motion to dismiss counts one and two on November 27, 2020. SAppx0069-0073.

Defendant filed a reply to the government’s response to defendants’ motion to

dismiss on March 7, 2021. SAppx0074-0177. The district court's order and opinion

denying the motion to dismiss counts one and two was entered on November 9,

2021.     Appx0009-0010.     On November 16, 2021, the defendant entered a

conditional plea, which preserved his right to appeal from the denial of his motion

to dismiss counts one and two. SAppx0233-0244.

        Defendant filed a Pro Se motion to withdraw his guilty plea on December

23, 2021. SAppx0178-0197. The government filed its response in opposition to the

pro se motion to withdraw his guilty plea by the defendant on March 3, 2022.

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SAppx0198-0211 Defense counsel filed a reply to the government’s response in

opposition to the motion to withdraw guilty plea on April 4, 2022. SAppx0212-

0216 The government filed a surreply to defendants reply to the motion to

withdraw on April 9, 2022. SAppx0217-0223 The defendant filed a response to the

government’s surreply to the defendant’s motion to withdraw guilty plea on May

16, 2022. SAppx0224-1232 The district court's memorandum and order denying

the defendants pro se motion to withdraw his guilty plea was entered on July 8,

2022. Appx0011-0023. The defendant filed a pro se motion to reconsider the order

denying the motion to withdraw on July 27, 2022. SAppx0250-0260 The defendant

filed a motion for reconsideration and clarification on September 2, 2022.

SAppx0261-0270 On September 15, 2022, the district court denied both pro se

requests to reconsider the order denying the request of the defendant to withdraw

his guilty plea. Appx0025-0026

      Standards of Review

      When reviewing a district court's denial of a motion to dismiss the

Indictment for lack of a subject matter jurisdiction because it is unconstitutional,

the matter is subject to “de novo” review. De Leon-Reynoso v. Ashcroft, 293 F.3d

633, 635 (3d Cir. 2002). Whether the government breached the plea agreement is a

question of law subject to plenary review. United States v. Rivera, 357 F.3d 290,

293-294 (3d Cir. 2004).

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                   Statement of Related Cases and Proceedings

      Defendant has filed a writ of mandamus docketed in the United States Court

of Appeals for The Third Circuit at 23-1070. This matter relates to sentencing

restitution matters. Undersigned counsel is unaware of any other case or

proceeding which is in any way related, completed, pending, or about to be

presented before this Court, or any other court or agency, state or federal.




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                              Statement of the Case

1.     Factual background

       On November 15, 2018, a grand jury in the Eastern District of Pennsylvania

returned a two-count Indictment charging Victor Clayton with sex trafficking of a

minor and attempt, in violation of 18 U.S.C. §§ 1591(a)(1) and 1594(a) [Counts 1

and 2]. SAppx0051-0054 On November 16, 2021, the defendant appeared before

the Honorable R. Barclay Surrick and pleaded guilty to Counts 1 and 2 of the

Indictment. The plea was entered pursuant to Federal rule of Criminal Procedure

11(c)(1)(C), with an agreed upon sentence range of 180 months to be followed by

ten years of supervised release. SAppx0233-0244

     Count One charges that on or about February 1, 2018 and on or about March

15, 2018, in Philadelphia in the Eastern District of Pennsylvania, the Eastern

District of North Carolina, and elsewhere, Victor Clayton in and affecting

interstate commerce knowingly recruited, enticed, harbored, transported, provided,

obtained, and maintained Minor 1, whose identity is known to the Grand Jury, and

attempted to do so, knowing and in reckless disregard of the fact that Minor 1 was

under the age of 18 and would be caused to engage in a commercial sex act, and

having had the reasonable opportunity to observe Minor 1. Count Two alleges the

same acts with regard to Minor 2, between on or about March 12, 2018, and on or

about March 15, 2018. SAppx0233-0244 The defendant is appealing the district

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court's order and opinion denying the motion to dismiss counts one and two that

was entered on November 9, 2021. Appx 0009-0010

2. Factual overview of issue one

      The defendant at his plea hearing acknowledges that the Government would

prove that between on or about February 1, 2018, and on or about March 15, 2018,

the defendant recruited, enticed, harbored, transported, provided, obtained, and

maintained minor one, in or affecting interstate commerce, knowing or recklessly

disregarding the fact that she had not attained the age of 18 and would be caused to

engage in a commercial sex act, and had the reasonable opportunity to observe her

SAppx0271-0293

      The defendant at his plea acknowledged that the Government would prove

that he was involved in posting Backpage advertisements for minor one, including

taking 23 photographs of her for advertisements; that he transported her, including

in interstate commerce; that he harbored her and maintained her at various hotels

in Philadelphia, including the Days Inn, the Motel 6, the Hub Motor Lodge, and

the North American Motor Inn, including paying for those hotels in cash knowing

that she would be caused to engage in commercial sex acts. SAppx0271-0293

      The defendant agreed that the Government would also prove that between on

or about March 12, 2018, and on or about March 15, 2018, the defendant

knowingly recruited, enticed, harbored, transported, provided, obtained, or

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maintained minor two, in and affecting interstate commerce; knowing or recklessly

disregarding the fact that she had not attained the age of 18 and would be caused to

engage in a commercial sex act; and that he had the reasonable opportunity to

observe her and that he attempted to do so. SAppx0271-0293

      The defendant agreed that as to minor two the government would prove that

on or about March 12, 2018, along with minor one, he drove in a rented vehicle to

upper Chichester, Pennsylvania where he picked up minor two, and he and minor

one discussed Backpage advertisements with minor two, and discussed with her

engaging in commercial sex acts, and how she would be part of the team. The

defendant brought both of those minors to sleep overnight at his mother's house in

Philadelphia. Then on approximately March 13, 2018, he drove both minors to

North Carolina; minor one being age 16, minor two being age 15. The defendant

then rented a room at the Baymont Inn and Suites in Dunn, North Carolina, in

cash, knowing that both minors would be caused to engage in commercial sex acts.

SAppx0271-0293

      Defendant’s aforementioned conduct was entirely domestic and had no

transnational component. The defendant asserts that Congress does not have the

power, nor did it intend in its enactment of Title 18 U.S.C §1591(a)(1) to infringe

on wholly domestic criminal activity as born out by the facts in this case.



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3.     Factual overview of issue two


     On November 16, 2021, the defendant entered a conditional plea, which

preserved his right to appeal from the denial of his motion to dismiss counts one

and two of the Indictment. Among other provisions, the guilty plea contained the

following language:

       The defendant further understands that supervised release may be revoked if its
       terms and conditions are violated. When supervised release is revoked, the
       original term of imprisonment may be increased by up to five years per count of
       conviction. Thus, a violation of supervised release increases the possible period of
       incarceration and makes it possible that the defendant will have to serve the
       original sentence, plus a substantial additional period, without credit for time
       already spent on supervised release. If the defendant violates supervised release
       by committing one or more specified child exploitation offenses, the court will
       revoke supervised release and require the defendant to serve an additional term of
       imprisonment of at least 5 years pursuant to 18 U.S.C. § 3583(k). SAppx0233-
       0244
       18 U.S.C. 3583 (k) was struck down by the Supreme Court on June 26,

2019, in the United States v. Hammond, 139 S. Ct. 2369; 204 L.Ed.2d897(2019)

and should not have been included in the defendant’s plea agreement. The

defendant asserts that the district court, the government, and even defense counsel

advised the defendant that he was subjected to 18 U.S.C. § 3583 (k), which

mandates a mandatory minimum sentence of (5) five years, if the defendant

violates supervised release, per count. This material mistake constituted a breach of

the defendant’s plea agreement, and he should be permitted to withdraw his plea.




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                                   Argument One

                 The district court erred in denying defendant’s
                 motion to dismiss pursuant to federal Rule of
                 Criminal Procedure 12 (b)(3) counts One and
                 Two of the Indictment charging sex trafficking of
                 a minor for failure to state an offense. That is
                 because the facts presented by the government in
                 the defendant’s case, make out a wholly domestic
                 offense, that congress never intended to address
                 when it enacted 18 U.S.C. § 1591(a)(1) and is
                 unconstitutional as applied to the defendant.



      DISCUSSION

I.    THE COURT ERRED IN DENYING DEFENDANTS MOTION TO
      DISMISS COUNTS ONE AND TWO CHARGING 18 U.S.C. § 1591.

      The crux of defendant’s appeal is that both counts of his Indictment are

unconstitutional as applied to him. The defendant asserts that Congress does not

have the power, nor did it intend in its enactment of Title 18 U.S.C §1591(a)(1) to

infringe on wholly domestic criminal activity. To do so would be in violation of

the Tenth Amendment, The Treaty Power and the Necessary and Proper Clause of

the United States Constitution.

      The Tenth Amendment provides in full: “The powers not delegated to the

United States by the Constitution, nor prohibited by it to any States, are reserved to

the States respectively, or to the people.” U.S. Const. amend. X. The Treaty Power

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permits the President, “by and with the advice of the Senate to make treaties,

provided two thirds of the Senators present concur…” Id at art. II, § 2, cl 2. It is the

Necessary and Proper Clause that gives Congress the Power “[t]o make all laws

which shall be necessary and proper for carrying into Execution the forgoing

powers, and all other Powers vested by this Constitution in the Government of the

United States, or in any Department or Officer thereof.” Id at art I, § 8, cl. 18.

      To enact a piece of legislation, the government must be able to point to an

enumerated power in the Constitution that authorizes congress to enact it. It is

beyond doubt that “lacking police power”, congress cannot punish felonies

generally. For example, a criminal act committed wholly within a state cannot be

made an offense against the United States, unless it has some relation to the

execution of a power of Congress, or some matter within the Jurisdiction of the

United States. See Bond v United States 572 U.S. 134 S. Ct. 2077, 2086 (2014)

(quoting Cohen v. Virginia 19 U.S. 264, 428 (1821)).

      The question presented here is not whether Congress has the authority under

the Necessary and Proper Clause to make laws, but whether Congress has the

authority under the Necessary and Proper Clause to expand the scope of a treaty

intentionally or as applied. The Necessary and Proper Clause is the Source of

Congress’ power to enact implementing legislation as it relates to a self-executing

treaty generally, and its outer bounds limit Congress’ authority to pass such

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legislation. The Necessary and Proper Clause allows Congress to construct laws

that are rationally related to the implementation of another constitutionally

enumerated power, including the Presidents’ power to make and execute treaties.

See United States v. Comstock 560 U.S. 126, 134, 130 S. Ct. 1949 (2010) (citing

Sabri v. United Sates 541 U.S. 600, 605 124 S. Ct. 1941 (2004) A statute is

necessary to the implementation of a treaty if it is plainly adapted to the treaty, and

the statute is a proper means of doing so if it is both not prohibited by the

Constitution and consistent with the letter and spirit of the Constitution.

      On October 28, 2000, Congress enacted the Victims of Trafficking and

Violence Protection Act of 2000 (“TVPA”). Pub. L. 106-386, 114 Stat. 1464

(2000). Division A of this Act was known as the Trafficking Victims Protection

Act (“TVPA”). The TVPA implements the United Nations Protocol to Prevent,

Suppress and Punish Trafficking in persons. (“UNTOC”). The United States has

adopted the Protocols as a signatory State pursuant to the presidents Treaty Power.

Among its many provisions, the TVPA created criminal penalties for sex

trafficking of children or by force, fraud, or coercion. Pub. L. 106-386, § 112(a),

codified at 18 U.S.C. § 1591 (2000).

      The TVPA sought to “combat trafficking in persons, a contemporary

manifestation of slavery whose victims are predominantly women and children, to

ensure just and effective punishment of traffickers, and to protect their victims.” 22

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U.S.C. § 7101(a). In support of the TVPA, Congress made a number of findings

relating to the “modern form of slavery” of trafficking in persons. Id. § 7101(b).

The “Purposes and Findings” section of the TVPA, includes, among other things,

references to the “international sex trade,” 22 U.S.C. § 7101(b)(2), a “growing

transnational crime,” § 7101(b)(3), the transportation of victims “from their home

communities to unfamiliar destinations, including foreign countries … ,” §

7101(b)(5), “organized criminal enterprises worldwide,” § 7101(b)(8), that

“[t]rafficking in persons is a transnational crime,” § 7101(b)(24), and numerous

references to the victims of trafficking often being immigrants illegally brought to

the country where they are exploited, §§ 7101(b)(5), (17), (20). The reason for

these transnational references is because the TVPA is the implementing legislation

Necessary and Proper to implement the UNTOC agreement.

      The legislative record around the original bill provides important insight.

The record of the original passage of the TVPA makes a myriad of references to

trafficking across international borders, but none to domestic or purely local

conduct. The House Judiciary’s report on the bill showed measured constraint,

viewing congress’s jurisdiction over the bill as limited to the immigration

provisions and the criminal penalty provisions. H.R. Rep. 106-487, pt. II, at 17

(Apr. 13, 2000).



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       Senator Brownback of Kansas, who assisted in developing the TVPA, made

it clear that the bill addressed the evils of international sex trafficking. 146 Cong.

Rec. S10,164-67 (Oct. 11, 2000) (statements of Sen. Brownback). Senator

Brownback began his statement by invoking the story of Irina, who answered a

“vague ad” in a Ukrainian newspaper and traveled to Israel to make money

stripping. Instead, she was driven to a brothel, her passport was burned, she was

designated as “property,” and she was threatened with arrest and deportation. Id.

The victims of sex trafficking “are enslaved into a devastating brutality against

their will, with no hope for release or justice.” Id. Senator Wellstone emphasized

similarly egregious accounts of coercion and violence. Id. at S10,168.

       The international focus of the law is further reflected in the original Act’s

structure, where eight out of thirteen sections were expressly focused on

combatting international trafficking. 114 Stat. 1464, Pub. L. 106-386, §§ 104-111

(Oct. 28, 2000). All of this is strong evidence that Congress did not intend to

regulate purely domestic conduct and instead desired to leave such regulation for

the states.

       Congress does not exercise a general “police power;” that belongs to the

States. Bond v. United States, 572 U.S. 844 (2014). In Bond, a jilted wife engaged

in an “amateur attempt” to injure her husband’s lover by spreading toxic chemicals

on the lover’s car, mailbox, and doorknob. Bond at 851. The victim sustained only

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minor chemical burns. Id. Nevertheless, the federal government charged the

defendant with possessing and using a chemical weapon, in violation of 18 U.S.C.

§ 229(a). 18 U.S.C. § 229(a) is implementing legislation of an international treaty

regarding the proliferation of chemical weapons.

      The Court reversed the conviction, relying on principles of federalism

“inherent in our constitutional structure.” Id. at 856 (majority opinion). Though the

government’s applicability of the facts to the law was simple (and matched Justice

Scalia’s commonsense view), the Court rejected that interpretation because it

threatened to “dramatically intrude upon traditional state criminal jurisdiction,”

and the Court avoids reading statutes in such a way in the absence of a “clear

indication” that they do. Id. The background principle the Court relied upon was

“grounded in the relationship between the Federal Government and the States

under our Constitution.” Id.

      The Supreme Court has interpreted the Necessary and Proper Clause to

permit Congress to implement an existing, non-self-executing treaty, as negotiated

by the President. U.S. Const. Art. III. §2, cl. 2. It would violate the structure and

spirit of the Constitution for Congress to pass implementation legislation that

causes a treaty to take on a shape that contradicts the Constitution, either by

causing the treaty to reach a topic on which the President himself could not have

negotiated or by allowing Congress to reserve for itself power to expand the

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treaty's scope beyond what the President negotiated on the country's behalf as a

signatory.

      The Supreme Court has intimated that the Treaty Power reaches only

"proper subjects of negotiation between our government and other nations". See

Asakura v. City of Seattle, 265 U.S. 332, 341, 44 S. Ct. 515, 68 L. Ed. 1041

(1924); see Bond, 134 S. Ct. 2077 at 2102-11 (Thomas, J., concurring)(joined by

Justices Scalia and Alito); In re Ross, 140 U.S. 453, 463, 11 S. Ct. 897, 35 L. Ed.

581 (1891); Geofroy v. Riggs, 133 U.S. 258, 266, 10 S. Ct. 295, 33 L. Ed. 642

(1890). In particular, no court has ever said that The Treaty Power can be

exercised without limit to affect matters which are a purely domestic concern and

do not pertain to our relations with other nations.

       Under Rule 12 of the Federal Rules of Criminal Procedure, the defendant in

a criminal matter may Challenge his or her Indictment at any point prior to trial.

See Fed. R. Crim P. 12(b)(3). Victor Clayton did so in his case. To Succeed on an

as applied challenge, the defendant need only show that the [Statute] is “an

unconstitutional exercise of congressional power” as applied to the conduct set

forth in the indictment. See United States v Sullivan, 451 F 3d. 884, 887, 371 U.S.

App. D.C. 3639 (DC Cir. 2006).

      Federal courts should decline to read federal law as intruding upon the

responsibility for states to regulate local criminal activity, “unless Congress has

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clearly indicated that the law should have such reach.” Gregory v. Ashcroft, 501

U.S. 452, 460 (1991). “To interpret the Treaty Power as extending to every

conceivable domestic subject matter-even matters without any nexus to foreign

relations-would destroy the basic constitutional distinction between domestic and

foreign powers.” see Bond, 134 S. Ct. 2077 at 2104 (Thomas, J., concurring)

(joined by Justices Scalia and Alito) (Citing United States v. Curtiss-Wright Export

Corp 229 U.S. 304, 319, 57 S. Ct. 216, 81 L. Ed 255 (1936).

      In order to stem the tide of federalization of local crime, 18 U.S.C. § 1591

must be construed narrowly with an eye to the concerns of international sex

trafficking by violence and subjugation that led to its enactment as necessary and

proper. The rule enunciated by the Supreme Court in Bond mandates that courts

should construe federal criminal statutes that infringe upon a traditional area of

state authority narrowly. Accordingly, Counts One and Two of the Indictment

against Victor must be dismissed pursuant to Fed. R. Crim P. 12(b)(3) as

unconstitutional as applied.




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                                  Argument Two

             The district court erred in denying the defendant’s
             motion to withdraw his guilty plea because the
             government breached the plea agreement by including
             unconstitutional terms in the agreement.


      The defendant asserts that the district court and the government, erroneously

advised the defendant that he was subjected to 18 U.S.C. § 3583 (k), which

mandates a mandatory minimum sentence of (5) five years, if the defendant

violates supervised release, per count. However, this provision in the plea

agreement is unconstitutional as 18 U.S.C. 3583 (k) was struck down by the

Supreme Court on June 26, 2019, in the United States v. Hammond, 139 S. Ct.

2369; 204 L.Ed.2d897(2019). Because the defendant was misled and misinformed

regarding this sentencing provision in the plea agreement, the defendant did not

enter into the plea knowingly, intelligently, and voluntarily. The government

induced the defendant’s plea by including unconstitutional terms in its plea

negotiations. Because the government knowingly or negligently included these

invalid terms the plea agreement has been breached.

      At the outset the defendant notes that although he signed an appellate

waiver, an appellate waiver is not enforceable if the government breaches its own

obligations under the plea agreement. See United States v. Moscahlaidis, 868 F. 2d

1357, 1360 (3d Cir. 1989). What renders the plea null, and void is found in

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paragraph five of the plea agreement, which provides that the defendant is

subjected to 18 USC 3583(k), mandatory five-year sentence for certain violations

while on supervised release. SAppx0233-0244 This sentencing provision, as

conceded by the government and the district court, is unenforceable and has been

struck down as unconstitutional by the Supreme Court. However, the district court

also alluded to this provision during the Rule 11 plea colloquy. Appx 0276 This

term is a breach of the plea agreement.

       The Supreme Court in Santobello v New York 404 U.S. 257, (1971),

established that when a plea rests in any significant degree on a promise or

agreement of the prosecutor so that it can be said to be part of the inducement or

consideration, such promise must be fulfilled. Id at 262. Santobello, focused on

the duties of the prosecutor in relation to promises made in plea negotiations. The

plea agreement in and of itself is part of the inducement. The fact that the error is

possibly harmless or inadvertent does not obviate the need for appropriate relief. A

plea induced by an unfulfillable promise is no less subject to challenge than one

induced by a valid promise which the government simply fails to fulfill. See Brady

v. United States 397 U.S. 742, 755 25 L. Ed. 2d 747, 90 S. Ct. 1463 (1970).

      Plea agreements are contractual and therefore analyzed under Contract Law

Standards. See Unites States v. Moscahlaids, 868 F.2d 1357, 1361 (3d Cir. 1989)

“In determining whether a plea agreement has been broken courts look to what was

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reasonably understood by [the defendant] when he entered his plea of guilty”.

United States v. Crusco, 536 F.2d 21, 27 (3d Cir.1976). Plea agreements are

mutually agreed upon understandings between the parties or a quid pro quo. See

United States v. Partida-Parra, 859 F2.d 629, 633 (9th Cir.1988). Where the plea is

the product of a “material misrepresentation” relied on by the defendant the error

cannot be harmless. (“Error, plain on the face of the record”…) Boykin v.

Alabama, 395 US 238, 242, 89 S. Ct. 1709, 23 L. Ed 2d 274 (1969). A plea of

guilty under the influence of unintentionally erroneous advice by the government

agent… [the prosecutor, court, and attorney’s].. cannot be regarded as having been

made on the necessary basis of informed, self-determined choice. See Von Moltke

v. Gillies (1948) 332 US 708, 92 L. Ed 309, 68 S. Ct. 316 concurring opinion of

Justice Frankfurter and Justice Jackson.

      When the court has determined that a material aspect of the plea agreement

is invalid, the proper remedy is to allow the defendant to withdraw the guilty plea

and either negotiate a new “agreement” or proceed to trial. United States v.

Fotiades-Alexander, 331 F. Supp 2d 350 (E.D.Pa.2004) (“It is well-settled that

supervised release constitutes punishment) See United States v. Gilchrist, (1997)

130 F. 3d 1131 (relying on United States V. Dozier, 119 F.3d 239, 1997 WL

401318 (3d Cir. (N.J.)).



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      The government argues that the defendant should be tethered to the plea

agreement regardless of the “error” in the “Plea Agreement” sentencing penalty

provision, which the government concedes is unconstitutional and invalid. In

general terms of the plea agreement are “contractual in nature”. “[P]lea

agreements… are unique contracts in which special Due Process concerns for

fairness and adequacy of procedural safeguards obtain”, United States v. Carnine,

974 F. 2d 924, 928 (7th Cir. 1992). Thus, courts construe plea agreements strictly

against the government. This is done for a variety of reasons, including the fact

that the government is usually the party that drafts the agreement, and the fact that

the government ordinarily has certain awesome advantages in bargaining power”.

United States v. Mergen, 764 F.3d 199, 208 (2d Cir.2014) (quoting United States v.

Ready, 82 F.3d 551, 559 (2d Ciur. 1996), superseded on other grounds as stated in

United States v. Cook, 722 F. 3d 477, 481 (2d Cir. 2013). For these reasons, courts

should hold the government to a “greater degree of responsibility than the

defendant… for imprecisions or ambiguities in … plea agreements”. United States

v. Wells, 211 F. 3d 988, 955 (6th Cir. 2000).

      The government argues that the error is harmless and not prejudicial to the

defendant. The government is wrong. Due process of Law is absolute. See Carey v.

Piphus, 98 S. Ct. 1042, 55 L. Ed 2d 252,435 45 247 (1978). The government’s

position is that the defendant should not be afforded the opportunity to object to an

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unconstitutional sentencing provision in the plea agreement which in any event is

unenforceable, rendering it completely impotent and non-prejudicial.

      The fact of whether the provision is enforceable or not is beside the point.

What matters is what rights would have been readily available to the defendant at

the time of the entry of his plea. Particularly, when the sentencing provision had

been invalidated by the Supreme Court two years prior to the defendant’s plea.

Moreover, the knowledge of these potentially onerous supervised release

consequences may have plaid a role in accepting the plea with more favorable

sentencing terms. “If a defendant’s guilty plea is not equally voluntary and

knowing, it has been obtained in violation of Due Process and therefore, is void”.

McCarthy v. United States, 394 U.S. 459, 466, 89 S. Ct 1166 22 L. Ed 2d 418

(1969).

      In the situation before us, the defendant would have had the right under Due

Process of Law to make an informed, intelligent, and knowing decision as to what

rights were available to him moving forward in the proceedings. The government’s

position would affectively strip away those rights and constitutional protections

and safeguards because of an error made on the part of the government who had a

legal obligation to know what the law was. A matter affecting substantial rights

means “error” with a prejudicial effect on the outcome of a judicial proceeding.

Had the court been aware of the sentencing error at the time of the plea entry, there

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can be no dispute that the court under its authority and duty would have addressed

the error and the outcome of the proceedings would have had a different result.

Moreover, because of the defendant’s mistrust of the government, as indicated in

his desire to go to trial, such an error on the government’s part would have given

the defendant pause not to move forward with a plea. Denial of Due Process of

Law “procedural or substantive, violates the Due Process Clause and amounts to a

miscarriage of justice.

      The court cannot “reject” certain provisions of the plea agreement and still

accept the plea agreement. See, United States v. Yednak, 187 F.Supp.2d 419 (3d

Cir. 2002) (holding the court may only accept or reject the plea agreement in its

entirety. It does not have the authority simply to reject those portions of the

agreement with which it finds fault. See United States v. Mukai, 26 F. 3d 953, 956

(9th Cir.1994)(starting that “if the court did not find the terms of [one paragraph of

the plea agreement] appropriate, its only option was to reject the agreement in its

entirety”)’ United States v. Cunavelis, 969 F.2d 1419, 1422 (2d Cir. 1992)(“The

district court may accept or reject a []… plea [agreement], but may not modify

it.”). see e.g., United States v. Self, 596 F.3d 245, 249 (5th Cir. 2010) (holding that

the courts rejection of the stipulated sentence in the plea agreement constituted a

rejection of the entire plea agreement); See also In Re Morgan, 506 F.3d 705, 709,

(9th Cir. 2007) (noting that the court cannot accept a plea agreement on a piecemeal

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basis). In this case the court has no choice but to reject the plea agreement and

remand the case for further proceedings.

      A guilty plea induced by misrepresentation including unfulfillable or

unfulfilled promises cannot stand and is contractually in breach. If the provisions

of a plea agreement are accepted by a court, but later found to be invalid, the

proper remedy is not to impose a sentence that modifies or violates the plea

agreement. The remedy is to allow the defendant to withdraw his guilty plea and

either negotiate a new plea agreement or proceed to trial. See United States v.

Bernard, 373 F.3d. 339, 345, 46 V.I. 657 (3d Cir. 2004).

      The government negotiated a plea with onerous terms that had long been

invalidated. These terms were surely a safety net for future harsh punishment

should the defendant violate his supervised release. The government negotiated a

plea that on its face was generous by offering a well below guidelines sentencing

carrot at the front end with a significant five-year mandatory sentence supervised

release violation stick. The defendant entered into a plea agreement contract with

terms that were wholly unconstitutional. The remedy is to remand the defendant’s

case and permitting him to withdraw his guilty plea and either negotiate a new plea

agreement or proceed to trial.




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                                        Conclusion

      WHEREFORE, it is requested that the judgment of conviction be reversed,

and that the case be remanded to the district court with instructions to issue an

order dismissing counts one and two of the Indictment as unconstitutional. In the

alternative, because the defendant’s plea agreement has been breached the

defendant should be permitted to withdraw his plea of guilty.



                                        Respectfully submitted,

Date: March 30, 2023
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                              Certifications of Counsel

I, Luis A Ortiz, Esquire, hereby certify as follows:

   1. I am a member of the Bar of this Court.

   2. Using FedEx 2-Day Delivery, I have this day served an original and Seven
      copies of the Brief of Appellant and Joint Appendix Volume I upon Patricia
      S. Dodszuweit, Clerk of the United States Court of Appeals for the Third
      Circuit, 21400 United States Courthouse, 601 Market Street, Philadelphia,
      Pennsylvania, 19106-1790.

   3. Using First Class United States Mail, I have this day served a copy of the
      Brief of Appellant and Joint Appendix Volume I upon Amanda R. Reinitz.
      Esquire, Office of the United States Attorney, 615 Chestnut Street Suite
      1250 Philadelphia, PA 19106.

   4. I have this day filed with the Court an electronic copy of the Brief of
      Appellant and Joint Appendix Volume I.

   5. The electronic filing is identical to the paper filing.

   6. This brief contains a total of 6181 words; and

   7. Using my computer’s McAfee Security Scan Plus, anti-virus software, I
      checked the electronic Brief of Appellant and Joint Appendix Volume I for
      viruses, and no viruses were detected.


Date: March 30, 2023                     /s/ Luis A. Ortiz
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